                   EXHIBIT G




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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION



AGILENT TECHNOLOGIES INC.,

                        Plaintiff,
                                                      Civil Action No.: 19-CV-02156-N-DCG
       v.                                                  JURY TRIAL DEMANDED
J&X TECHNOLOGIES CO., LTD.,

                        Defendant.


                             ORDER GRANTING AGILENT’S
                           MOTION FOR SUBSTITUTED SERVICE

       On September 15, 2020, Plaintiff Agilent Technologies Inc. (“Agilent”) filed Agilent’s

Motion for Substituted Service, Dkt. No. [12] (“Motion”), on defendant, J&X Technologies Co.,

Ltd. (“J&X”), which resides in the People’s Republic of China. The Court finds the Motion to be

well founded. Accordingly, the Motion is hereby GRANTED.

       Pursuant to Federal Rules of Civil Procedure 4(f)(3) and 4(h)(2), Agilent is hereby directed

to serve J&X via email together with a copy of this order to each of the following e-mail addresses

for which the Court has checked the box below, within one week of the entry of this Order.

            at kathleen.daley@finnegan.com, J&X’s settlement counsel, Finnegan, Henderson,
 X          Farabow, Garrett & Dunner, LLP, attn.: Kathleen Daley

            at wayneandking@gmail.com, J&X’s counsel before the United States Patent and
 X          Trademark Office, Wayne and King IP, attn.: Xia Li

            at info@jnxtec.com
 X
            at xguan@jnxtec.com
 X
            at zhao@jnxtec.com
 X



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       The Court will consider service to be completed upon the earliest date upon which

Agilent’s counsel is able to obtain a confirmation of e-mail delivery. Agilent also is directed to

file a Notice of Service once service has been completed to any e-mail address.



      SIGNED September 23, 2020.



                                           ________________________________
                                           DAVID C. GODBEY
                                           UNITED STATES DISTRICT JUDGE




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